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                                                    [DO NOT PUBLISH]
                                     In the
                  United States Court of Appeals
                          For the Eleventh Circuit

                            ____________________

                                  No. 23-13649
                            Non-Argument Calendar
                            ____________________

         TIMOTHY BURKE,
                                                       Movant-Appellant,
         versus
         UNITED STATES OF AMERICA,


                                         Intervenor Defendant- Appellee.


                            ____________________

                   Appeal from the United States District Court
                        for the Middle District of Florida
                    D.C. Docket No. 8:23-mc-00014-WFJ-SPF
                            ____________________
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         2                       Opinion of the Court                  23-13649


         Before JORDAN, JILL PRYOR, and BRANCH, Circuit Judges.
         PER CURIAM:
                 The government’s motion to dismiss this appeal for lack of
         jurisdiction is GRANTED. Timothy Burke appeals the denial of his
         motion to unseal the search warrant affidavit associated with the
         seizure of his records and for return of his property under Fed. R.
         Crim. P. 41(g). Relating to the return of his property, the govern-
         ment argues that the court’s order is not yet appealable because it
         is tied to an ongoing criminal prosecution. Relating to the unseal-
         ing of the search warrant affidavit, the government argues that the
         appeal is moot because the magistrate judge has since unsealed the
         affidavit with minor redactions.
                 In order for a ruling on a preindictment motion to be imme-
         diately appealable, it must be independent from the judgment. Di-
         Bella v. United States, 369 U.S. 121, 122-23, 126 (1962). It must be
         “fairly severable from the context of a larger litigious process.” Id.
         at 127 (quotation marks omitted). “Only if the motion is solely for
         return of property and is in no way tied to a criminal prosecution
         in esse against the movant can the proceedings be regarded as inde-
         pendent.” Id. at 131-32.
               A pending criminal investigation, even in the absence of a
         formal charge, may be enough to show that the motion is tied to a
         criminal prosecution. In re Sealed Search Warrant and Application for
         a Warrant by Tel. or Other Reliable Elec. Means (“Korf”), 11 F.4th 1235,
         1246 (11th Cir. 2021). Also relevant is the purpose of the motion
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         23-13649                Opinion of the Court                          3

         and whether it seeks to attack the validity of the search and seizure.
         Id.; Matter of Grand Jury Proceedings (“Berry”), 730 F.2d 716, 717 (11th
         Cir. 1984).
                 Here, there were ongoing criminal proceedings at the time
         Burke filed his motion, given that materials were seized from his
         residence pursuant to a search warrant and an indictment subse-
         quently was returned against him based on the seized materials.
         See Korf, 11 F.4th at 1246. Furthermore, Burke’s motion attacked
         the constitutionality of the seizure. He argued that the property
         was wrongfully seized because he did not commit a crime, explain-
         ing that the government fundamentally misinterpreted 18 U.S.C.
         §§ 1030 and 2511, the statutes which he was ultimately charged
         with violating in the indictment. Although he argues that he was
         not seeking to suppress evidence, an indirect result of a favorable
         decision on his motion would be the suppression of evidence, as he
         sought return of all the seized materials, including all copies of elec-
         tronic data. A favorable decision also would have implicated the
         viability of the charges in the indictment because those charges
         were grounded in the seized property. Accordingly, the order
         denying his motion for return of property is not sufficiently inde-
         pendent from the criminal matter to be immediately appealable.
         See DiBella, 369 U.S. at 131-32; Korf, 11 F.4th at 1245.
                The parties suggest that DiBella governs the appealability of
         the entirety of the district court’s order, but DiBella did not address
         an order denying a motion to unseal. We do not find any jurisdic-
         tional basis for an immediate appeal of that pretrial ruling,
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         4                       Opinion of the Court                   23-13649

         including the collateral order doctrine. The Supreme Court has
         strictly interpreted the collateral-order exception to the final judg-
         ment rule in criminal cases, so far limiting its application to orders
         that have denied four types of pretrial motions: (1) motions to re-
         duce bail; (2) motions to dismiss on double jeopardy grounds; (3)
         motions to dismiss under the Speech or Debate Clause; and (4) or-
         ders permitting involuntary medication to restore competence to
         stand trial. Sell v. United States, 539 U.S. 166, 176-77 (2003); Flanagan
         v. United States, 465 U.S. 259, 265-66 (1984); United States v. Shalhoub,
         855 F.3d 1255, 1260 (11th Cir. 2017). The denial of Burke’s motion
         to unseal the search warrant affidavit does not qualify for immedi-
         ate review under the collateral order doctrine. See Will v. Hallock,
         546 U.S. 345, 350 (2006) (“And we have meant what we have said;
         although the Court has been asked many times to expand the
         ‘small class’ of collaterally appealable orders, we have instead kept
         it narrow and selective in its membership.”); Dig. Equip. Corp. v.
         Desktop Direct, Inc., 511 U.S. 863, 868 (1994); Midland Asphalt Corp.
         v. United States, 489 U.S. 794, 799 (1989).
                Accordingly, Burke’s appeal is DISMISSED for lack of juris-
         diction.
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                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

 David J. Smith                                                                      For rules and forms visit
 Clerk of Court                                                                      www.ca11.uscourts.gov


                                            May 24, 2024

  MEMORANDUM TO COUNSEL OR PARTIES

  Appeal Number: 23-13649-FF
  Case Style: Timothy Burke v. USA
  District Court Docket No: 8:23-mc-00014-WFJ-SPF

  Opinion Issued
  Enclosed is a copy of the Court's decision issued today in this case. Judgment has been entered
  today pursuant to FRAP 36. The Court's mandate will issue at a later date pursuant to FRAP
  41(b).

  Petitions for Rehearing
  The time for filing a petition for panel rehearing is governed by 11th Cir. R. 40-3, and the time
  for filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
  provided by FRAP 25(a) for inmate filings, a petition for rehearing is timely only if received in
  the clerk's office within the time specified in the rules. A petition for rehearing must include
  a Certificate of Interested Persons and a copy of the opinion sought to be reheard. See 11th
  Cir. R. 35-5(k) and 40-1.

  Costs
  Costs are taxed against Appellant(s) / Petitioner(s).

  Bill of Costs
  If costs are taxed, please use the most recent version of the Bill of Costs form available on the
  Court's website at www.ca11.uscourts.gov. For more information regarding costs, see FRAP 39
  and 11th Cir. R. 39-1.

  Attorney's Fees
  The time to file and required documentation for an application for attorney's fees and any
  objection to the application are governed by 11th Cir. R. 39-2 and 39-3.

  Appointed Counsel
  Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
  compensation via the eVoucher system no later than 45 days after issuance of the mandate or
  the filing of a petition for writ of certiorari. Please contact the CJA Team at (404) 335-6167 or
Case 8:23-mc-00014-WFJ-SPF Document 59              Filed 05/28/24 Page 6 of 6 PageID 552
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  cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
  system.

  Clerk's Office Phone Numbers
  General Information: 404-335-6100      Attorney Admissions:         404-335-6122
  Case Administration: 404-335-6135      Capital Cases:               404-335-6200
  CM/ECF Help Desk: 404-335-6125         Cases Set for Oral Argument: 404-335-6141



                                                          OPIN-1 Ntc of Issuance of Opinion
